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                                                                                                                        Zachary C. Schauf
              January 10, 2025                                                                                          Tel +1 202 639 6025
                                                                                                                        ZSchauf@jenner.com
              Molly C. Dwyer
              Clerk of Court
              United States Court of Appeals for the Ninth Circuit
              James R. Browning Courthouse
              95 7th Street
              San Francisco, CA 94103


              Re:        FRAP 28(j) Letter in Pacific Gas and Electric Company, et al. v. FERC, Nos. 24-2527,
                         24-3786

              Dear Ms. Dwyer:

                     Petitioners Pacific Gas and Electric Company (“PG&E”), Southern California Edison
              Company (“SCE”) and San Diego Gas & Electric Company (“SDG&E”) file this notice of
              supplemental authority to advise the Court of a recent order of the Federal Energy Regulatory
              Commission (“FERC”). This order rejects SDG&E’s request for an adder for its participation in
              the California Independent System Operator (“CAISO”) based on AB 209—the same California
              law on which FERC relied in denying PG&E’s adder here. Order Rejecting in Part, and Accepting
              and Suspending in Part, Proposed Formula Rate Filing, and Establishing Hearing and Settlement
              Judge Procedures, 189 FERC ¶ 61,248 (Dec. 31, 2024) (“SDG&E Order”) (attached as Ex. A).

                      FERC initially denied PG&E’s request on the theory that PG&E’s CAISO membership
              was involuntary because PG&E could not “unilaterally withdraw” without approval from the
              California Public Utilities Commission (“CPUC”). ER-50-51 (PG&E Initial Order ¶¶ 39, 42). The
              Commission, however, abandoned that reasoning on rehearing and before this Court. It instead
              argued that AB 209 precludes Petitioners from ever withdrawing from CAISO, even with CPUC
              approval. ER-19-20 (PG&E Rehearing Order ¶ 37) (disagreeing that “entities subject to [AB 209],
              such as PG&E, may end their participation in CAISO subject to approval from CPUC,” and
              “clarify[ing]” its prior discussion “[t]o the extent the [initial order] may be construed otherwise”);
              accord FERC Br. 27, 40-43 & n.11; Petrs’ Opening Br. 26, 28-29; Petrs’ Reply Br. 5.

                       In the SDG&E Order, FERC without explanation reverts to the reasoning of its PG&E
              initial order, concluding that SDG&E’s membership is involuntary because it cannot “unilaterally
              withdraw” without CPUC approval. SDG&E Order ¶ 37 (stating California’s law “requires that
              electrical corporations such as SDG&E[] participate in CAISO, and may not withdraw from
              CAISO without CPUC approval”); id. ¶ 40 (concluding SDG&E’s CAISO participation is “no


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              longer voluntary” because SDG&E “cannot unilaterally withdraw from CAISO”). FERC does not
              acknowledge its later abandonment of this reasoning or explain its reversion. Both of FERC’s
              theories are wrong, Petrs’ Opening Br. 31-42; Reply Br. 5-14, and FERC’s continued vacillations
              only underscore the arbitrary nature of its decision here.

                                                                 Sincerely,

                                                                 /s/ Zachary C. Schauf
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                                                                 Counsel for Petitioners
              cc: All counsel of record via CM/ECF               Pacific Gas and Electric Company,
                                                                 Southern California Edison Company, and
                                                                 San Diego Gas & Electric Company
